Fill in this information to identify the case:

Debtor name: PG&E Corporation
United States Bankruptcy Court for the: Northern District of California

Case number (If known):

                                                                                                                                         ☐ Check if this is an
                                                                                                                                         amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors
Who Have the 50 Largest Unsecured Claims and Are Not Insiders
                                                                                                                                                             12/15

The following is a list of creditors holding the 50 largest unsecured claims against the Debtors (on a consolidated basis). This list includes
claims which the Debtors dispute. This list does not include claims by any person or entity who is an insider, as defined in 11 U.S.C. §
101(31). Also, this list does not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value
places the creditor among the holders of the 50 largest unsecured claims.
Name of creditor and complete mailing    Name, telephone number, and email      Nature of the    Indicate if     Amount of unsecured claim
address, including zip code              address of creditor contact            claim (for       claim is        If the claim is fully unsecured, fill in only unsecured
                                                                                example, trade   contingent,     claim amount. If claim is partially secured, fill in
                                                                                debts, bank      unliquidated,   total claim amount and deduction for value of
                                                                                loans,           or disputed     collateral or setoff to calculate unsecured claim.
                                                                                professional
                                                                                services, and
                                                                                government
                                                                                contracts)
                                                                                                                 Total claim, if     Deduction       Unsecured claim
                                                                                                                 partially           for value of
                                                                                                                 secured             collateral or
                                                                                                                                     setoff
1     Bank of New York Mellon            Raymond Torres                         Senior Debt                                                          $3,000,000,000
      400 South Hope Street, Suite 500   Tel: (213) 630-6175
      Los Angeles , CA 90071             Fax: (213) 630-6298
                                         Email: raymond.torres@bnymellon.com

2     Citibank, N.A.                     Amit Vasani                            Senior Debt                                                          $2,885,000,000
      388 Greenwich Street               Tel: (212) 816-4166
      New York, NY 10013                 Fax: (646) 291-1685
                                         Email: amit.vasani@citi.com

3     Bank of New York Mellon            Raymond Torres                         Senior Debt                                                          $1,150,000,000
      400 South Hope Street, Suite 500   Tel: (213) 630-6175
      Los Angeles , CA 90071             Fax: (213) 630-6298
                                         Email: raymond.torres@bnymellon.com

4     Bank of New York Mellon            Raymond Torres                         Senior Debt                                                          $950,000,000
      400 South Hope Street, Suite 500   Tel: (213) 630-6175
      Los Angeles , CA 90071             Fax: (213) 630-6298
                                         Email: raymond.torres@bnymellon.com

5     Bank of New York Mellon            Raymond Torres                         Senior Debt                                                          $850,000,000
      400 South Hope Street, Suite 500   Tel: (213) 630-6175
      Los Angeles , CA 90071             Fax: (213) 630-6298
                                         Email: raymond.torres@bnymellon.com

6     Bank of New York Mellon            Raymond Torres                         Senior Debt                                                          $800,000,000
      400 South Hope Street, Suite 500   Tel: (213) 630-6175
      Los Angeles , CA 90071             Fax: (213) 630-6298
                                         Email: raymond.torres@bnymellon.com




Official Form 204                          List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders                                  Page 1



            Case: 19-30088               Doc# 2         Filed: 01/29/19          Entered: 01/29/19 00:17:54                        Page 1 of 6
Debtor          PG&E Corporation                                                                     Case number (if known)
                Name




Name of creditor and complete mailing    Name, telephone number, and email      Nature of the    Indicate if     Amount of unsecured claim
address, including zip code              address of creditor contact            claim (for       claim is        If the claim is fully unsecured, fill in only unsecured
                                                                                example, trade   contingent,     claim amount. If claim is partially secured, fill in
                                                                                debts, bank      unliquidated,   total claim amount and deduction for value of
                                                                                loans,           or disputed     collateral or setoff to calculate unsecured claim.
                                                                                professional
                                                                                services, and
                                                                                government
                                                                                contracts)
                                                                                                                 Total claim, if     Deduction       Unsecured claim
                                                                                                                 partially           for value of
                                                                                                                 secured             collateral or
                                                                                                                                     setoff
7     Bank of New York Mellon            Raymond Torres                         Senior Debt                                                           $800,000,000
      400 South Hope Street, Suite 500   Tel: (213) 630-6175
      Los Angeles , CA 90071             Fax: (213) 630-6298
                                         Email: raymond.torres@bnymellon.com

8     Bank of New York Mellon            Raymond Torres                         Senior Debt                                                          $675,000,000
      400 South Hope Street, Suite 500   Tel: (213) 630-6175
      Los Angeles , CA 90071             Fax: (213) 630-6298
                                         Email: raymond.torres@bnymellon.com

9     Bank of New York Mellon            Raymond Torres                         Senior Debt                                                          $600,000,000
      400 South Hope Street, Suite 500   Tel: (213) 630-6175
      Los Angeles , CA 90071             Fax: (213) 630-6298
                                         Email: raymond.torres@bnymellon.com

10    Bank of New York Mellon            Raymond Torres                         Senior Debt                                                          $600,000,000
      400 South Hope Street, Suite 500   Tel: (213) 630-6175
      Los Angeles , CA 90071             Fax: (213) 630-6298
                                         Email: raymond.torres@bnymellon.com

11    Bank of New York Mellon            Raymond Torres                         Senior Debt                                                          $600,000,000
      400 South Hope Street, Suite 500   Tel: (213) 630-6175
      Los Angeles , CA 90071             Fax: (213) 630-6298
                                         Email: raymond.torres@bnymellon.com

12    Bank of New York Mellon            Raymond Torres                         Senior Debt                                                          $600,000,000
      400 South Hope Street, Suite 500   Tel: (213) 630-6175
      Los Angeles , CA 90071             Fax: (213) 630-6298
                                         Email: raymond.torres@bnymellon.com

13    Bank of New York Mellon            Raymond Torres                         Senior Debt                                                          $550,000,000
      400 South Hope Street, Suite 500   Tel: (213) 630-6175
      Los Angeles , CA 90071             Fax: (213) 630-6298
                                         Email: raymond.torres@bnymellon.com

14    Bank of New York Mellon            Raymond Torres                         Senior Debt                                                          $500,000,000
      400 South Hope Street, Suite 500   Tel: (213) 630-6175
      Los Angeles , CA 90071             Fax: (213) 630-6298
                                         Email: raymond.torres@bnymellon.com

15    Bank of New York Mellon            Raymond Torres                         Senior Debt                                                          $500,000,000
      400 South Hope Street, Suite 500   Tel: (213) 630-6175
      Los Angeles , CA 90071             Fax: (213) 630-6298
                                         Email: raymond.torres@bnymellon.com

16    Bank of New York Mellon            Raymond Torres                         Senior Debt                                                          $450,000,000
      400 South Hope Street, Suite 500   Tel: (213) 630-6175
      Los Angeles , CA 90071             Fax: (213) 630-6298
                                         Email: raymond.torres@bnymellon.com

17    Bank of New York Mellon            Raymond Torres                         Senior Debt                                                          $450,000,000
      400 South Hope Street, Suite 500   Tel: (213) 630-6175
      Los Angeles , CA 90071             Fax: (213) 630-6298
                                         Email: raymond.torres@bnymellon.com




Official Form 204                          List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders                                  Page 2



            Case: 19-30088               Doc# 2        Filed: 01/29/19           Entered: 01/29/19 00:17:54                        Page 2 of 6
Debtor          PG&E Corporation                                                                        Case number (if known)
                Name




Name of creditor and complete mailing       Name, telephone number, and email       Nature of the    Indicate if     Amount of unsecured claim
address, including zip code                 address of creditor contact             claim (for       claim is        If the claim is fully unsecured, fill in only unsecured
                                                                                    example, trade   contingent,     claim amount. If claim is partially secured, fill in
                                                                                    debts, bank      unliquidated,   total claim amount and deduction for value of
                                                                                    loans,           or disputed     collateral or setoff to calculate unsecured claim.
                                                                                    professional
                                                                                    services, and
                                                                                    government
                                                                                    contracts)
                                                                                                                     Total claim, if     Deduction       Unsecured claim
                                                                                                                     partially           for value of
                                                                                                                     secured             collateral or
                                                                                                                                         setoff
18    Bank of New York Mellon               Raymond Torres                          Senior Debt                                                          $400,000,000
      400 South Hope Street, Suite 500      Tel: (213) 630-6175
      Los Angeles , CA 90071                Fax: (213) 630-6298
                                            Email: raymond.torres@bnymellon.com

19    Bank of New York Mellon               Raymond Torres                          Senior Debt                                                           $400,000,000
      400 South Hope Street, Suite 500      Tel: (213) 630-6175
      Los Angeles , CA 90071                Fax: (213) 630-6298
                                            Email: raymond.torres@bnymellon.com

20    Bank of New York Mellon               Raymond Torres                          Senior Debt                                                          $400,000,000
      400 South Hope Street, Suite 500      Tel: (213) 630-6175
      Los Angeles , CA 90071                Fax: (213) 630-6298
                                            Email: raymond.torres@bnymellon.com

21    Bank of New York Mellon               Raymond Torres                          Senior Debt                                                          $400,000,000
      400 South Hope Street, Suite 500      Tel: (213) 630-6175
      Los Angeles , CA 90071                Fax: (213) 630-6298
                                            Email: raymond.torres@bnymellon.com

22    Bank of New York Mellon               Timothy J. Marchando                    Pension                                                              $378,837,539
      500 Grant Street                      Tel: (412) 236-4788
      BNY Mellon Center, Suite 410          Fax: (412) 236-1928
      Pittsburgh, PA 15258                  Email:
                                            timothy.marchando@bnymellon.com
23    Bank of New York Mellon               Raymond Torres                          Senior Debt                                                           $375,000,000
      400 South Hope Street, Suite 500      Tel: (213) 630-6175
      Los Angeles , CA 90071                Fax: (213) 630-6298
                                            Email: raymond.torres@bnymellon.com

24    Bank of New York Mellon               Raymond Torres                          Senior Debt                                                          $375,000,000
      400 South Hope Street, Suite 500      Tel: (213) 630-6175
      Los Angeles , CA 90071                Fax: (213) 630-6298
                                            Email: raymond.torres@bnymellon.com

25    Bank of New York Mellon               Raymond Torres                          Senior Debt                                                          $350,000,000
      400 South Hope Street, Suite 500      Tel: (213) 630-6175
      Los Angeles , CA 90071                Fax: (213) 630-6298
                                            Email: raymond.torres@bnymellon.com

26    Mizuho                                Peter Bickford                          Senior Debt                                                          $350,000,000
      1251 Ave. of the Americas, 32nd Fl.   Tel: (212) 282-4945
      New York, NY 10020                    Fax: (212) 282-4486
                                            Email: peter.bickford@mizuhocbus.com

27    Bank of New York Mellon               Raymond Torres                          Senior Debt                                                          $350,000,000
      400 South Hope Street, Suite 500      Tel: (213) 630-6175
      Los Angeles , CA 90071                Fax: (213) 630-6298
                                            Email: raymond.torres@bnymellon.com

28    Bank of America                       Patrick Boultinghouse                   Senior Debt                                                          $300,000,000
      NY1-199-22-00, 1 Bryant Park, 22nd    Tel: 1 (646) 855-4576
      Floor                                 Fax: (214) 290-8374
      New York, NY 10036                    Email: Patrick.boultinghouse@baml.com




Official Form 204                             List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders                                   Page 3



            Case: 19-30088                  Doc# 2        Filed: 01/29/19            Entered: 01/29/19 00:17:54                        Page 3 of 6
Debtor          PG&E Corporation                                                                     Case number (if known)
                Name




Name of creditor and complete mailing    Name, telephone number, and email      Nature of the    Indicate if     Amount of unsecured claim
address, including zip code              address of creditor contact            claim (for       claim is        If the claim is fully unsecured, fill in only unsecured
                                                                                example, trade   contingent,     claim amount. If claim is partially secured, fill in
                                                                                debts, bank      unliquidated,   total claim amount and deduction for value of
                                                                                loans,           or disputed     collateral or setoff to calculate unsecured claim.
                                                                                professional
                                                                                services, and
                                                                                government
                                                                                contracts)
                                                                                                                 Total claim, if     Deduction       Unsecured claim
                                                                                                                 partially           for value of
                                                                                                                 secured             collateral or
                                                                                                                                     setoff
29    Bank of New York Mellon            Raymond Torres                         Senior Debt                                                          $300,000,000
      400 South Hope Street, Suite 500   Tel: (213) 630-6175
      Los Angeles , CA 90071             Fax: (213) 630-6298
                                         Email: raymond.torres@bnymellon.com

30    Bank of New York Mellon            Raymond Torres                         Senior Debt                                                          $300,000,000
      400 South Hope Street, Suite 500   Tel: (213) 630-6175
      Los Angeles , CA 90071             Fax: (213) 630-6298
                                         Email: raymond.torres@bnymellon.com

31    Bank of New York Mellon            Raymond Torres                         Senior Debt                                                          $300,000,000
      400 South Hope Street, Suite 500   Tel: (213) 630-6175
      Los Angeles , CA 90071             Fax: (213) 630-6298
                                         Email: raymond.torres@bnymellon.com

32    The Okonite Company Inc.           Patrick Nash                           Trade                                                                $295,114,344
      2440 Camino Ramon, Ste. 315        Tel: (925) 830-0801
      San Ramon CA, 94583                Fax: (925) 830-0954
                                         Email: sfpo@okonite.com

33    Bank of New York Mellon            Raymond Torres                         Senior Debt                                                           $250,000,000
      400 South Hope Street, Suite 500   Tel: (213) 630-6175
      Los Angeles , CA 90071             Fax: (213) 630-6298
                                         Email: raymond.torres@bnymellon.com

34    Bank of New York Mellon            Raymond Torres                         Senior Debt                                                          $250,000,000
      400 South Hope Street, Suite 500   Tel: (213) 630-6175
      Los Angeles , CA 90071             Fax: (213) 630-6298
                                         Email: raymond.torres@bnymellon.com

35    MUFG                               Nietzsche Rodricks                     Senior Debt                                                          $250,000,000
      1251 Avenue of the Americas        Tel: (212) 782-5568
      New York, NY 10020-1104            Email: nrodricks@us.mufg.jp


36    Deutsche Bank                      Kathryn Fischer                        Senior Debt                                                          $200,000,000
      100 Plaza One, 8th Floor           Tel: (201) 593-2238
      MS JCY03-0801                      Fax: (732) 578-4635
      Jersey City, NJ 07311              Email: kathryn.fischer@db.com

37    Deutsche Bank                      Kathryn Fischer                        Senior Debt                                                          $165,000,000
      100 Plaza One, 8th Floor           Tel: (201) 593-2238
      MS JCY03-0801                      Fax: (732) 578-4635
      Jersey City, NJ 07311              Email: kathryn.fischer@db.com

38    Deutsche Bank                      Kathryn Fischer                        Senior Debt                                                          $148,550,000
      100 Plaza One, 8th Floor           Tel: (201) 593-2238
      MS JCY03-0801                      Fax: (732) 578-4635
      Jersey City, NJ 07311              Email: kathryn.fischer@db.com

39    Wells Fargo                        Shelley C. Anderson                    Pension                                                              $110,639,648
      One West Fourth Street             Tel: (336) 747-8817
      Winston-Salem, NC 27101            Fax: (336) 747-8957
                                         Email:
                                         Shelley.C.Anderson@wellsfargo.com




Official Form 204                          List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders                                  Page 4



            Case: 19-30088               Doc# 2        Filed: 01/29/19           Entered: 01/29/19 00:17:54                        Page 4 of 6
Debtor          PG&E Corporation                                                                    Case number (if known)
                Name




Name of creditor and complete mailing   Name, telephone number, and email      Nature of the    Indicate if     Amount of unsecured claim
address, including zip code             address of creditor contact            claim (for       claim is        If the claim is fully unsecured, fill in only unsecured
                                                                               example, trade   contingent,     claim amount. If claim is partially secured, fill in
                                                                               debts, bank      unliquidated,   total claim amount and deduction for value of
                                                                               loans,           or disputed     collateral or setoff to calculate unsecured claim.
                                                                               professional
                                                                               services, and
                                                                               government
                                                                               contracts)
                                                                                                                Total claim, if     Deduction       Unsecured claim
                                                                                                                partially           for value of
                                                                                                                secured             collateral or
                                                                                                                                    setoff
40    Deutsche Bank                     Kathryn Fischer                        Senior Debt                                                          $100,000,000
      100 Plaza One, 8th Floor          Tel: (201) 593-2238
      MS JCY03-0801                     Fax: (732) 578-4635
      Jersey City, NJ 07311             Email: kathryn.fischer@db.com

41    Deutsche Bank                     Kathryn Fischer                        Senior Debt                                                          $74,275,000
      100 Plaza One, 8th Floor          Tel: (201) 593-2238
      MS JCY03-0801                     Fax: (732) 578-4635
      Jersey City, NJ 07311             Email: kathryn.fischer@db.com

42    Deutsche Bank                     Kathryn Fischer                        Senior Debt                                                          $74,275,000
      100 Plaza One, 8th Floor          Tel: (201) 593-2238
      MS JCY03-0801                     Fax: (732) 578-4635
      Jersey City, NJ 07311             Email: kathryn.fischer@db.com

43    Deutsche Bank                     Kathryn Fischer                        Senior Debt                                                          $50,000,000
      100 Plaza One, 8th Floor          Tel: (201) 593-2238
      MS JCY03-0801                     Fax: (732) 578-4635
      Jersey City, NJ 07311             Email: kathryn.fischer@db.com

44    Deutsche Bank                     Kathryn Fischer                        Senior Debt                                                          $50,000,000
      100 Plaza One, 8th Floor          Tel: (201)-593-2238
      MS JCY03-0801                     Fax: (732) 578-4635
      Jersey City, NJ 07311             Email: kathryn.fischer@db.com

45    MRO Integrated Solutions LLC      Tracy M. Tomkovicz                     Trade                                                                $29,968,049
      Maxwell Way, Ste. 200             Tel: (925) 335-4000
      Fairfield, CA 94534               Fax: (925)228-3668
                                        Email: tracyt@mrois.com

46    Roebbelen Contracting Inc.        Frank Lindsay                          Trade                                                                $21,875,522
      1241 Hawks Flight Ct.             Tel: (916) 939-1194
      El Dorado Hills, CA 95762         Fax: (916) 939-4028
                                        Email: FrankL@roebbelen.com

47    McKinsey & Company Inc.           Rob Bland                              Professional                                                         $16,817,755
      PO Box 7247-7255                  Tel: (540) 271-4000                    Services
      Philadelphia, PA 19170            Fax: (415) 318-5200
                                        Email: ron_bland@mckinsey.com

48    Quanta Energy Services LLC        B.J. Ducey                             Trade                                                                $16,358,984
      Post Oak Blvd., Ste. 2600         Tel: (713)629-7600
      Houston, TX 77056                 Fax: (713) 629-7676
                                        Email: BDucey@QuantaServices.com

49    ARB Inc.                          Leah Panlilio                          Trade                                                                $13,379,205
      26000 Commercentre Dr.            Tel: (949) 598-9242
      Lake Forest, CA 92630             Fax: 949-595-5526
                                        Email: contractssf@prim.com

50    Turner Construction Company       Craig Jones                            Trade                                                                $13,138,697
      343 Sansome St., Ste. 500         Tel: (415) 705-8916
      San Francisco, CA 94104           Fax: (415) 274-2900
                                        Email: dcosta@tcco.com




Official Form 204                         List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders                                  Page 5



            Case: 19-30088              Doc# 2        Filed: 01/29/19           Entered: 01/29/19 00:17:54                        Page 5 of 6
           01/29/19




Case: 19-30088   Doc# 2   Filed: 01/29/19   Entered: 01/29/19 00:17:54   Page 6 of 6
